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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

IN RE:

Jerald L. Baughman                                           Case No. 6:18-bk-02594-KSJ
                                                             Chapter 13

      Debtor(s).
____________________________/


SECOND MOTION TO EXTEND TIME FOR FILING REQUIRED DOCUMENTS RE:
  (SUMMARY OF SCHEDULES; SCHEDULES A-J; STATEMENT OF FINANCIAL
 AFFAIRS; STATEMENT OF CURRENT MONTHLY INCOME AND MEANS TEST
 CALCULATION; CREDITOR MATRIX; ATTORNEY DISCLOSURE STATEMENT
                      AND CHAPTER 13 PLAN)


         COMES NOW, Debtor, JERALD L BAUGHMAN, by and through the undersigned

counsel, moves this Honorable Court for additional time for Debtors to file Required Documents

(Summary of Schedules; Schedules A-J; Statement of Financial Affairs; Statement of Current

Monthly Income and Means Test Calculation; Creditor Matrix; Attorney Disclosure Statement;

and Chapter 13 Plan) hereafter “Required Documents”, and would show:

            1. On May 2, 2018 the Debtor filed a voluntary petition under Chapter 13.

            2. Debtors was granted until June 1st, 2018 to get the required documents submitted

                to the Court (DE# 19), however more time is needed due to the complex nature of

                the case.

            3. Debtor requests an additional seven (7) business days to file all required schedules

                and Plan.

         WHEREFORE, Debtor prays that this Court will enlarge the time for filing the Required

Documents an additional seven (7) business days to be filed by June 11, 2018.
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion has been

provided to Trustee Laurie Weatherford, PO Box 3450, Winter Park, FL 32790, via electronic

transmission and to Debtor Jerald L Baughman, 2380 W Lake Brantley Drive, Longwood, FL

32779 via US Mail, on this 31st day of May, 2018.



                                                    Respectfully Submitted,

                                                    By: /s/ Wayne B. Spivak
                                                    Wayne B. Spivak, Esq.
                                                    Florida Bar No. 38191
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